Case 96-54979 Doc1241-1 Filed11/08/07  Pagelof2 ~*~”

STORAGE USA RENTAL AGREEMENT

‘This Rental Agreement is executed at the place and on the date set forth below, between Storage-USA, Inc. a Tennessee corporation (hereinafter “Lessor as agent for
owner), and © THE TRAHELSTERD ZLEU (nereinatier “Tenant) as evidenced by thelr signatures below, and is made subject to the terms and conditions set
forth below and In this Rental Agreement, which terms and condlwons are Incorporated herein and made @ part hereot for all purposes. in consideration of the covenants,
conditions, and agresments hereinatter contained to be Kept and performed by Tenant. Lessor does hereby lease to Tenant and Tonant hereby leases from Lessor the hereln
described property, hereinafter called “the space” or if referring to the entire property, “the facility".

Tenant information (PLEASE PRINT) a wy .
" TEPORMATION Make All Checks ‘Aprox, Sze __\ hs Ye 2BSD_ Storage Space No. $ ANG
Payable To: THE TRAVELSTEAD GROUP, INC. Monthy Rent = 8 OLS
STORAGE-USA NS RITCHIE HWY. SUITE 207 prorated Rent 8 a
ane AGALD, MARYLAND 21012 prepaid Se
Mail or Deliver =F 5 ip P =
To: 410-757-9191 Total Rent Received S 2, a Be SS

Home Phone Bus. Phone

Lock $

Driver's License pumber ry moo
VIRGINIA KOWALSKY/STACEY BOYD/RAY RAMIERgcministration Fees 5 Lok
Authonzed Access 7 24 yo
VIRGINIA KOWALSKY Total Received $ 2-2 BS

Emergency contact

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$27SATSB
Paid Ty
W- B1- 92
2. TERMS The Rental Agreement shall commence on the date of execution of this Agreement and shail terminate on the last day of the current month. If Tenant
holds over or for any reascn falls or refuses to remove his property {rom the space after the term of this Agreement, then this Agreement shall be

automatically renewed, on a month-io-month basis. In the event this Agreement Is extended or renewed, it is expressly agreed that the covenanis and terms
of this Agreement shall remain in full force and effect.

3. RENT The rent shall be $ 2. AD .$% per month, Rent shall be payable as follows: Rent is due and payabie the first day of each, calendar month,
in advance and witout Bees If rental Is not pald by the fifth (5th) day of the month due, Tenant agrees to pay 4 LATE CHARGE of $4. 4 4 with

TenanTInmgts 7 additonal sox _X_jcharge after the fifteenth \{15th) day of the montn. Any account more than 30 days delinquent will be assessed an additional
HERE $25 Preforeciosure fee. Tanant agrees to pay a $ Yr charge for each RETURNED CHECK. Partial payment of rant does not waive or

void the legal effact of prior notices given to tenant unless expressl agreed to in writing by Lessor. Lessar reservas the right to refuse payment by check.
Lessor acknowledges payment of rent of $ De ae 3 4 which pays rent until) po , 19. “>. Thereupon, this
Rental Agreement shall terminate unless it is renewed each month by Tenant paying and Lessor accepting the monthly rental when due or In advance.
All rental payments shall be made to Lessor at the below address in Maryland, or at such other place as shall be designated in writing from dime to ime
by Leasor. Any additional charges shall be payable concurrently wilh the rent payment cr at the time the additional charge is levied. In the event of a selzure
under Paragraph 12 hereof, It is understood and agreed that the liability of Tenant for the rents, charges, costs, and expensts provided for In this Rental
Agreement shall not be relinquished, diminished or extinguished prior to payment In full or termination of this Agreement, whichever occurs first in time.
It Ig further agreed that Tenant shall be personaily liable for all rents, charges, costs, expenses to the date of termination of thls agreement, expenses
incurred for the sale and/or disposition as provided for beiow, it Is agreed that the date of such gale or other disposition shail constitute the date of
termination of this Agreement. The Rental Agreement shail commence on the date of execution of this Agreement and shall terminate on the last day of
the current month.

4. PAST DUE RENT/ In addition to, but not in of, all r dt iiabia to Lessor , the laws of Maryland § 18-503 C.L. Code of Maryland (Annotated),

LOCK OUT glvas the Lessor a Ilen upon alt personat property, whethsr or not owned by the T enant, 1 d at the self-service ge facility tor rent, labor
or other charges reasonably Incurred. Upon the Tenani‘s failure to pay the rent when il becomes due, the Lessor may, without notice, atter five (5) days
from the date the rent Is due, deny the Tenant access to the properly located In the self-storage facility.
The Lessor shati have the ‘ight to place a lock on the door after the 5th day of the rental period, If the rent has not been recelved. the overlock placed

by the Lessor shali serve as notification that rent is due and not paid according to the Lessor’s records. The overlock shail be removed only during the
office hours of the sell-servica facility. Any account mora than 30 days delinquent will be assessed an additional $25.00 pre-foreclosure fee.

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5. FEE Concurrently with the executon of this Rental Agrsemeni, Tenant shall pay to Lessor $ : as a nonrefundable new account <
Administration Fee.
6. RENEWAL Lessor reserves the right not to extend or renew this Agreement for any cause whalsoever, and Tenant agrees to vacate upon failure to comply with
or breach of any of the terms, conditions or covenants of this Agreement.
7. HOLDING Unfess tan (10) days prior to the end of the last month of tenancy, or any extension or renewal of this Agreement, either of the parties gives the othar
OVER party notice of his intention lo terminate mis Agreement at the end of the pald term, this Agreement shall be construed as a tenancy at sufferance at the

rental rate and on the game tarms and conditions herein specified, or as such may be modifled pursuant to Paragraph 18 below. TENANT AGREES TO
TENANT INTIALS GIVE TEN (10) DAYS WRITTEN NOTICE PRIOR T O THE END OF THE LAST MONTH OF TENANGY , AND HE AGREES THAT FAILURE TO GIVE SUCH
HERE diddm NOTICE WILL ALLOW LESSOA TO ANY DAMAGES AND CHARGES TO WHICH LESSOR MAY BE ENTITLED (Refer to paragraph 35 "Rules and
Regulations" item # 714.
8. USE The storage space shall not be used for any unlawful purpose and will be kept in good condition. Tenant may only store personal property owned
by Tenant. Tenant has exclusive control of the starage space during the term of this agreement, and specifically agrees that Lessor is not concemed with
7 the kind, quality, or value of any goods slorec. Tenant agrees that in no event shali the total value of all property stored be deemed to exceed $5,000 unless
Lessor has given permission in writing for Tenant to store property exceeding $5,000 in vaius. The pravisions of this paragraph do not alter the release
of Lessor's liability set forth In Paragraph 72, default, nor constitute any admission inal Tenant's stored properly has any value whatsoever. Storage of
any materials classified as hazardous or iWegal under any state, federal or local law or regulation is prohibited. The storage of welding or flammable,
chemical, odorous, explosive or other inherentiy dangerous material ia prohibited. Tenant shall not do or permit to be done any act which creates or may
create a nuisance in connection with Tenant's use of the space. in Lessors sole discretion, accegs to tha faclllty may be conditioned In any manner deemed
reasonably necessary by Lessor. Tenant acknowieages that the space may be used for storage only, and is not to be used for the conduct of business.
Human or animal habitation is specifically prohibitec.
§. INSURANCE ALL PROPERTY STORED WITHIN OR ON THE SPACE BY TENANT OR LOCATED AT THE FACILITY SHALL BE AT TENANT'S SOLE RISK.
OBLIGATION LESSOR CARRIES NO INSURANCE WHICH IN ANY WAY COVERS ANY LOSS WHATSOEVER THAT TENANT MAY HAVE OR CLAIM BY RENTING THE
STORAGE SPACE OR BEING ON OR ABOUT THE FACILITY, AND THEREFORE TENANT MUST OBTAIN ANY INSURANCE DESIRED AT HIS OWN
EXPENSE. LESSOR STRONGLY RECOMMENDS THAT TENANT SECURE HIS OWN INSURANCE TO PROTECT HIMSELF AND HIS PROPERTY
AGAINST ALL PERILS OF WHATSOEVER NATURE. LESSOR SHALL NOT BE LIABLE TO TENANT OR TENANT'S INVITEES, FAMILY, EMPLOYEES,
AGENTS, OR SERVANTS FOR ANY PERSONAL INJURIES OR PROPERTY DAMAGE, OR LOSS FROM THEFT, VANDALISM, FIRE, SMOKE, WATER,
HURRICANE, RAIN, TORNADO, EXPLOSION, ACT OF GOD, OR ANY OTHER CAUSE WHATSOEVER, UNLESS THE SAME IS DUE TO THE WILLFUL
ACTS OR GROSS NEGLIGENCE OF LESSOR, HIS AGENTS, SERVANTS, OR EMPLOYEES. TENANT ACKNOWLEDGES THAT LESSOR DOES NOT
TAKE CARE, CUSTODY, CONTROL, POSSESSION, OR DOMINION OVER THE CONTENTS THEREOF, TENANT MUST TAKE WHATEVER STEPS HE
DEEMS NECESSARY TO SAFEGUARD WHAT IS AT THE FACILITY OR IN OR ON THE SPACE. TENANT MUST PROVIDE HIS OWN LOCK AND KEY
AND ASSUMES FULL RESPONSIBILITY FOR WHO HAS POSSESSION OF THE KEYS AND ACCESS TO THE SPACE, LESSOR SHALL NOT BE LIABLE
FOR LOSS OR DAMAGE RESULTING FROM FAILURE, INTERRUPTION OR MALFUNCTION OF THE UTILITIES, APPLIANCES, OR FIXTURES, IF ANY,
PROVIDED TO TENANT UNDER THE TERMS OF THIS RENTAL AGREEMENT.

TENANT HEREBY AGREES TO INDEMNIFY AND HOLD HARMLESS THE LESSOR FROM AND AGAINST ANY AND ALL AND ANY MANNER OF
CLAIMS FOR DAMAGES OR LOSS TO PROPERTY OR PERSONAL INJURY AND COSTS INCLUDING ATTORNEY'S FEES ARISING FROM TENANTS
USE OF THE SPACE OR THE FACILITY, OR FROM ANY ACTIVITY, WORK OR THING DONE, PERMITTED OR SUFFERED BY TENANTS IN OR ON
THE SPACE OR ABOUT THE FACILITY.

TENANTS HEREBLY EXPRESSLY AGREES THAT THE CARRIER OF ANY INSURANCE: ON ANY PROPERTY STORED OR OTHERWISE
LOCATED IN THE SPACE SHALL NOT HAVE THE RIGHT OF SUBROGATION TO ANY CLAIM THE TENANT HAS AGAINST THE LESSOR, LESSOR'S
AGENTS OR EMPLOYEES TO INCLUDE LESSOR'S INSURANCE CARRIER.

Should any of Lessor's employees perform any services for Tenant at Tenant's request, sucti employees shail be deemed to be the agent of the
Tenant, regardless of whether payment for such services is made or not, and Tenant agrees to hold Lessor harmless trom all Hablllty In connectlon with
or arising from, directly or Indirectly, such services performed by employea of Lessor.

Notwithstandina that Lessor shall not be liable for such occurrences, Tenant agrees to notify Lessor immadiatlay upon the occurence of any Injury,

or arena rom. arecty OF indirectiy, such services performed by employes of Lessor.
jotwithstanding that Lessor shall not be llable for such occurrences, Tenant agrees to not! i 1 inj
damage or loss suffered by the Tenant or other persons on any of such clreumstances. 'y Lessor Immedialley upon, the occurence of any myn
Nothing In this paragraph Is Intended to SImit or walve elther party's rights under the Maryland Self-Service Storage Facllity Act § 18-
Code of Maryland (Annoted). By placing his/her Initials Tenant acknowledges that he has read and understands the revisions ot this Paraaraph
9 and agrees, understands, and will comply with Its requiremants.
improvements, request of me Lessor, the Tenant shall provide access to the Lessor to enter the leased space for the purpose of Inspection, repair, alteration,
nts, pply necessary or agreed services. In case of emergency, the Lessor may enter the leased space for any of the above stated
purposes without notice to or consent from the Tenant, and Lessor reserves the right to remove the contents of tha ieased space to another space or facillty.
For the purposes of this Paragraph, the term “emergency” means any sudden, unexpected occurence or circumstance which demands immediate action.
11. LIEN IN ADDITION TO ANY LIENS AND REMEDIES PROVIDED BY LAW TO SECURE AND COLLECT RENT, AND CUMULATIVE THEREWITH, LESSOR
IS HEREBY GIVEN A CONTRACTUAL LANDLORD'S LIEN UPON ALL PROPERTY, NOW OR AT ANY TIME HEREAFTER, STORED tN OR ON THE
SPACE OR AT THE FACILITY SECURE THE TIMELY PERFORMANCE OF THIS AGREEMENT BY TENANT AND SECURE THE PAYMENT OF ALL
RENTS, CHARGES, AND COSTS INCIDENT TO TENANT'S DEFAULT. FURTHERMORE, LESSOR HAS A LIEN ON ALL PROPERTY IN A SELF-SEAVICE
STORAGE FACILITY FOR THE PAYMENT OF RENTS OR OTHER CHARGES THAT ARE DUE AND UNPAID BY THE TENANT: PURSUANT TO
MARYLAND SELF-SERVICE STORAGE FACILITIES ACT § 18-501 et. sea, C.L. CODE OF MARYLAND (ANNOTED).

Time is of the essence in the performance of this Agreement and in the payment of each and every Installment of rent and charges herein cavenanted
to be paid. If any rent or charge shal! be due and unpald, or if Tenant shalt fail or refuse to perform any of the covenants, conditions or terms of this
Agreement, Tenant shall be conclusively deemed in default in the performance of this Agreement.

tn case of default, at his option, and without prejudice to any other remedies, Lessor may:

TENANT INSTJALS
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10. INSPECTION

12, DEFAULT

A. terminate the Rental Agreement, or

Case 96-54979 Doc 1241-1 ‘ Filed 11/08/07 Page 2 of 2

13. PROPERTY NOT
SOLD

14. BREACH OF

COVENANT
18. BANKRUPTCY

16, TERMINATION

17, WAIVER

18. CHANGE OF

B. SEIZE AND SELL THE PROPERTY AGAINST WHICH A LIEN HAS ATTACHED UNDER MARYLAND SELF-SERICE STORAGE FACILITY ACT § 18-
801_ot. seg. C.L. CODE OF MARYLAND (ANNOTED), THAT LAW PROVIDES FOR SALE OF THE PROPERTY AFTER
DEFAULT FOR MORE THAN 60 DAYS, BEFORE SUCH SALE IS HELD LESSOR SHALL MfIL NOTICE OF DEFAULT EXPLANATION
BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO THE OCCUPANT AT THE OCGUPANT'S LAST KNOWN vPolPront is delinquont '
ADDRESS COMPLYING WITH § 18-504 (b) (2) ©.L. CODE OF MARYLAND (ANNOTED); AND ADVERTISE THE TIME, .
PLACE AND TERMS OF THE SALE IN A NEWSPAPER OF GENERAL CIRCULATION IN THE JURISDICTION WHERE THE SALE IS TO BE HELD.
THE SALE SHALL BE HELD AT THE FACILITY. .

If any property remains unsold after Lessor has complied with all the requirements of Maryland Self-Service Storage Facility Act § 18-501 at, seq. C.L.
Code of Maryland, Lessor may then otherwise dispose of sald property in any manner considered appropriate by the Lessor, Including, but nat !Imited to,
destroying the personal propery.

Abreach of any of ine covenants or conditions of this Agreement by the tenant shall, at the option of the Lessor, terminate this Agreement and at which
ume sald agreement shall become fhuil and vold.

In the event that Tenani files a voluntary petition in bankruptcy, or suffers a pedtlon in Involuntary bankruptcy to be filed against him, or makes an
assignment for the banefit of creditors, or is placed In receivership, or is the aubject of any other type of legal action wherein the right lo use and occupancy of
the leased space is ‘an Issue, then, at the option of the Lessor, this Agreement shall terminate, and Tenant shall thereafter have no right, title, or interest In or
to any of the gased spaces.

Upari termination of this Rental Agreement, Tenant shall remove all Tenant's personal property from the space unless such property Is subject to
Lessors lien rights as referenced in Paragraph 11 and shall Immediately deliver possession of the space to Lessor in the same condition as delivered to

. Tenant on the commencement date of thls Rental Agreement, reasonable wear and tear excepted.
, No waiver by Lessor, hls agents, representatives or employee of any breach or default In the performance of any covenant, condition or term contained
herein shall constitute a waiver of any subsequent breach or default In the performance of ihe same or any other covenant, conditlon or term hereof,

Alt terms of this Agreement, including without limitation, monthly rental, conditions of occupancy and charges are SUBJECT TO CHANGE UPON

TERMS THIRTY (30) DAYS PRIOR WRITTENNOTICE to Tenant. if changed, the Tenant may terminate this Agreement on the effective date of the change by giving
Lessor TEN (10) days prior wittan notice to terminate. If the Tenant does not give such notice, the change shall become effective and apply to his occupancy.
19. INDEMNIFY AND The Tenant agrees to indemnify and hold harmless the Lessor trom any and all costs, disbursements, expenses {including attorney's fees) demands,
HOLD HARMLESS claims, actions, or causes of actlon arising directly or indirectly from this Agreement or any renewal or extension thereof.
20. SUBLETTING OR No subletting of the space or any portion thereof or assignment of this Agreement may be made by Tenant without having written permission of Lessor
ASSIGNMENT in advance.

21, WARRANTIES

22. SEVERABILITY

23, SUCCESSION

24. MARYLAND
LAW TO APPLY
25. DISCLAIMER

26. ENTIRE
AGREEMENT

27. HEADINGS
28. RULES &

REGULATIONS

29. ALTERATIONS,

TENANT HEREBY WARRANTS THAT ALL THE INFORMATION GIVEN BY HIM AND INCORPORATED IN THIS AGREEMENT IS TRUE, COMPLETE
AND CORRECT AT THE TIME OF EXECUTION OF THIS AGREEMENT.

It any part of this Agreement for any reason ig declared invalid, such decision shall not affect the validity of any remalning portion, which remalning
portion shall remain in full force and effect as If this Agreement had been executed with the Invalid portion thereof eliminated. It is hereby declared the Intention
of the parties that they would have executed the remaining partion of this Agreement without Including any such part, parts, or portions which may, for any
reason, be hereafter declared invalid.

Lessor may at anytime assign this Rental Agreement in which event, Lessor shall no longer be responsible or llable under the terms of this Agreement
and ali of the provisions hereof shall apply to, bind, and be obligatory upon the parties and their helrs, assigns, executors, administrators, representatives,
and successors of the parties hereto.

This Agreement and any action arlsing between the parties shall be construed under and In accordance with the substantive laws of the State
of Maryland.

The agents and employees of Lessor are not authorized to make warranties about ihe space, premises, and facllity referred to in this Agreement.
Lessors agents' and employees’ ORAL STATEMENTS DO NOT CONSTITUTE WARRANTIES, and shall not be relled upon by the Tenant, nor shall any of
said statements be considered a part of the Agr The entire Ag it and understanding of the parties hereto Is embodied In this writing and NO
OTHER WARRANTIES are given beyond those set forth in this Agreement. The parties hereto agree that the IMPLIED WARRANTIES OF
MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE and all olher warranties, express or implied, ARE EXCLUDED from this transaction
and shal! not apply to the leased space, premises, and factlity referred to herein. Itis further understoed and agreed that Tenant has been given an opportunity
to inspect, and has inspected this space, premises, and facility, and that Tenant accepis such leased space, premises, and facility AS IS and WITH ALL
FAULTS. -

Except as provided for In Paragraph 28, this Agreement constitutes the sole and only Agreement of the partles hereto and supersedes any prior
understandings or written or oral agreements betwesn the parties respecilng the subject matter contained herein. No amendrfent or alteration of the terms
hereof shall be binding unless the same be In writing, dated subsequent to the date hereof, and duly executed by the parties hereto, or unless such terms are
modified pursuant to the pravisions of Paragraph 18 above.

The headings of the various provisions af the Agreement have been included only for the convenience of the partles and are not to be used in conatruing
this Agreement nor In ascertaining the intentions of the parties.

The Rules and Regulations posted In a conspicuaus place at the facility are made a part of this Rental Agreement and Tenants comply at all times with
such Rules and Regulations. Lessor shall have the right from time to Uma to promulgate amendments and additonal Rules and Regulations for safety, care,
and cleanliness of the facility and upon posting of any such amendments or additions in a conspicuous place at the facility, they shall
become a part of this Rental Agreement.

Tanant shall not make or suffer to be made any alterations of the space or facility nor post any sign without express written consent of the Lessor. Tenant

SIGNS, & WASTE — shall not commit nor suffer to be committed any waste In or on the space or at the facility.

30. PARKING

31, ATTORNEY'S
FEES

32. CHANGE OF
ADDRESS
33. LOCK

34. SPECIAL
CONDITIONS

35. RULES AND
REGULATIONS

‘TENANT INITIALS
HERE

The Tenant agrees that parking shall be permitted only in the areas provided and that no parking shall be permitted overnight. Laading and unloading
of vehicles shali not be done In such a way fo block accass to other storage space and shall be accomplished as rapidly as possible. This Renial Agreegment
does not include the storage of automoblles outside of the leased space.

In the event any action be instituted or other proceedings taken to enforce any term, covenant or condition herein contained or to recover any rent or
charge due or to recover possassion of the space or facllity for any default or breach of this Rental Agreement by Tenant, Tenant agrees to and shall pay
Lessors reasonable attomey's fees, costs, and expenses in connectlon therewlth.

1T SHALL BE THE DUTY OF THE TENANT TO FURNISH THE LESSOR NOTIFICATION, IN WRITING BY CERTIFIED MAIL,TO LESSOR'S
ADDRESS PROVIDED HEREIN OF ANY CHANGE OF ADDRESS OR PHONE NUMBER.

Tenant shall provide, alt Tenant's own expense a lock for the space which Tenant, in Tenants sole discretion, deems sutfictent to secure the space.
Space shail be Immediately locked upon Stlan of the Ag it. Tenant shall not provide Lessor or Lessor's agents with a key and/or combination
to Tenant's lock unlass dellverles are to accepted by Lessor on Tenant's behalf.

There ase NO special condidons OTHER THAN those listed here:

No refunds will be granted.
Observe the 5 miles per hour speed Iimit while driving In the facllity. Park cars and trucks so as not to block driveways or other storage spaces.

Do nat connect refrigerators or freezers to electric outlets. The electricity could be tumed off at any time.

peop

Do not usa any type af electric or fs heater In your storage space. Use of any equipment using electricity, including small tools and heat lamps,
must be approv: y . the-Manager. I} In the opinion of the Manager an excessive amaunt of electricity Is used, an additional fee will be charged.
Disconnect any extension cords or electrical equipment when not In use.

Turn off all lights when you leave your storage space.

No open flames of any type such as camping equipment, cuttlng torches, kerosene lamps, candles, etc. are allowed In the space.

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7. Dono sanding or spray painting In your space.

8. Store no gasoline, explosives or other hazardous materiais In your space.
9. ODONOT STORE ANY FOOD IN YOUR SPACE.

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Remove all trash and unwanted Items from your storage space. Do not put unwanted items In unrented space. Use the recaptical provided
at the facillty tor disposal of small items only. Tenant is responsible for off-site disposal of large items.

11. The facility will be closed on New Year's Day, Easter, the 4th of Juiy, Thanksgiving Day and Christmas. These dates are posted in the facility office in
advance as a reminder.

12. YOUARE RESPONSIBLE: Lock your space using only one lock. You must obtaln Insurance If you wish your property Insured.
13. CHANGE OF ADDRESS: Report any change of address, phone number, etc. by certified mail to the office to keep our records current.

14. VACATE POLICY: When you plan to vacate, you must give our Manager written notice at least ten (10) days prior to the end of your month, If you have
not paid your rent for a manth but vacate by the Sth, your rent willbe prorated. After the Sth, one month's rent will be due even if you vacate.

15. | RENTAL PROVISIONS: All of the provisions of the Rental Agreement, of which these Rules and Regulations are a part, apply to your occupancy and
use of your storage space and your access to the Storage-USA facility.

NOTICE TO TENANT: DO NOT SIGN THIS AGREEMENT BEFORE YOU READ iT AND FULLY UNDERSTAND THE COVENANTS CONTAINED
HEREIN.

KEEP A COPY OF THIS AGREEMENT TO PROTECT YOUR LEGAL RIGHT. TENANT HEREBY ACKNOWLEDGES BY SIGNING THIS
AGREEMENT THAT HE HAS READ, UNDERSTOOD AND ACCEPTS ALL THE TERMS AND CONDITIONS EXPRESSED IN THIS AGREEMENT.

Executed this oe day of Now, 197% in Maryland,
ThE THe ETERD Give Elle. LTRS TERE ENE FRE.
FF
TENANT UL. Maen jid, é PRINT NAME yf apis; AY

LESSOR: Storagi USA, Inc., As Agent Fé\ Owner.
] L
ROS. .

BY:

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